
PER CURIAM.
Appellant seeks review of a judgment and sentence involving multiple counts of armed sexual battery and kidnapping. Appellant now files an uncontested motion for remand, showing that the sentencing guidelines scoresheet includes a juvenile offense which is improper under Morgan v. State, 520 So.2d 105 (Fla. 2d DCA 1988). We treat this as a confession of error pursuant to Wiley v. State, 578 So.2d 903 (Fla. 1st DCA 1991), and reverse and remand for resentencing with a corrected scoresheet.
REVERSED and REMANDED.
SHIVERS, C.J., and WIGGINTON and NIMMONS, JJ., concur.
